
96 N.Y.2d 851 (2001)
In the Matter of the Estate of LOIS KLINK, Deceased. WENDY H. BOURGEOIS, as Commissioner of the Cattaraugus County Department of Social Services, Respondent; JOAN HARGIS, as Executrix of LOIS KLINK, Appellant.
Court of Appeals of the State of New York.
Submitted April 2, 2001.
Decided June 14, 2001.
Motion to dismiss appeal granted and appeal dismissed, with $400 costs and $100 costs of motion upon the ground that the Court of Appeals does not have jurisdiction to entertain an appeal as of right from either the nonfinal Appellate Division order or from the final judgment of Surrogate's Court.
